               Case 1:97-cr-00028-DHB-WLB Document 258 Filed 11/18/14 Page 1 of 1

 PROB35                                                               Release
                       Report and Order TerminatingProbation/Supervised
(Rev 5/01)                          Prior to Original ExPirationDate                                     FILID
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                                 SOUTHERNDISTRICTOF GEORGIA
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                  Larry AlbertBush


       On November 10. 2011, the abovenamedwas placedon supervisedreleasefor a period of ltve years.
He has complied with the rules and regulationsof supervisedreleaseand is no longer in need of supervision ll
is accordinglyrecommended   that he be dischargedfrom supervision.

                                                         Respectfullysubmitted,



                                                         TimothyH. Corbin
                                                         UnitedStatesProbationOfficer


                                        ORDEROF THE COURT

                                                                                           andthatthe
                                                                            from supervision
        pursuantto the abovereport,it is orderedthatthedefendantis discharged




                                                         United StatesDistrict Judse
